            Case 2:07-cr-00264-RSM          Document 241         Filed 02/07/08       Page 1 of 1
                                                                    The Honorable Ricardo S. Marinez


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 5                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 6

 7
     UNITED STATES OF AMERICA,                         No. CR07-264RSM
 8
                    Plaintiff,                         ORDER GRANTING DEFENDANT’S
 9                                                     MOTION TO SEAL APPENDIX 1 TO
            vs.                                        SENTENCING MEMORANDUM
10
     AUSHA PIGOTT,
11
                    Defendant.
12

13          Having reviewed Defendant’s Motion to Seal Appendix 1 to Sentencing Memorandum
14   and having reviewed Appendix 1 to Defendant’s Sentencing Memorandum, and because
     Appendix 1 contains personal identifiers of non-parties, there is good cause to seal this
15
     document.
16
            It is here by ORDERED that Appendix 1 to Defendant’s Sentencing Memorandum shall
17   remain filed under seal.
18                          Dated this 7th day of February, 2008.



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                                                   RICARDO S. MARTINEZ
21                                                 UNITED STATES DISTRICT JUDGE

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     ORDER GRANTING DEFENDANT’S MOTION TO                                   LAW OFFICE OF
                                                                        SUZANNE LEE ELLIOTT
     SEAL APPENDIX 1 TO SENTENCING                                      1300 Hoge Building
     MEMORANDUM - 1                                                     705 Second Avenue
                                                                     Seattle, Washington 98104
                                                                           (206) 623-0291
